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                                                                                2018 Oct-26 PM 01:17
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION

JAMES E. BARBER, JR.,                         )
                                              )
                       Plaintiff,             )
                                              )
                       v.                     )     Case No.: 2:15-cv-0997-JHE
                                              )
CORIZON HEALTH, et al.,                       )
                                              )
                       Defendants.            )

               OBJECTION TO, MOTION TO STRIKE, AND MOTION
                TO PRECLUDE CERTAIN DOCUMENTS RECEIVED
                BY COUNSEL ON OCTOBER 26, 2018 AT 12:35 P.M.

        COME NOW the defendants, jointly, Hugh Hood, M.D., Roy Roddam,

M.D., and Commissioner Jefferson Dunn, and move this Court for an Order striking

and precluding utilization of certain documents received on October 26, 2018, at

12:35 p.m., and for cause would show unto the Court as follows:

        At 12:35 p.m. on Friday, October 26, 2018, counsel for defendants received

an e-mail from Sarah Grady, one of the attorneys for Mr. Barber, attaching certain

documents and stating that plaintiff would be using them as evidence in this matter.

(Attached hereto as Exhibit A). The documents attached to the email were the

resume’ of Dr. Cusick and Corizon’s responses to plaintiff’s request for admission.

        Neither of these documents were previously listed as evidence in Barber’s

pretrial disclosures filed on August 10, 2018 [Doc. # 142-1].



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        Corizon is no longer a defendant to this matter and Corizon’s discovery

responses are irrelevant and immaterial to any of the claims remaining in this matter.

        The plaintiff should be precluded from entering into evidence those

documents not previously disclosed and obviously should be precluded from

entering into evidence request for admission of a party that was granted summary

judgment and is no longer a party to this matter.

        WHEREFORE, premises considered, the defendants respectfully move this

Court for an Order striking and precluding the resume’ of Dr. Cusick, Corizon’s

responses to plaintiff’s request for admission received by the defendants on October

26, 2018 at 12:35 p.m.

                                         Respectfully submitted,

                                         /s/ Philip G. Piggott
                                         Philip G. Piggott (ASB-4379-P67P)
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                                         Hugh Hood, M.D. and Roy Roddam, M.D.

                                         /s/Gary L. Willford, Jr.
                                         Gary L. Willford, Jr. (WIL198)
                                         Assistant Attorney General
                                         State of Alabama Department of Corrections
                                         P. O. Box 301501
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                                         Attorney for Defendant, Jefferson S. Dunn


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                            CERTIFICATE OF SERVICE

        I hereby certify that on October 26, 2018, filed the foregoing with the Clerk
of the Court using the CM/ECF filing system, which will send notification of such
filing to the following:

 Henry F. Sherrod, III, Esq.                   Sarah Grady, Esq.
 HENRY F. SHERROD III, P.C.                    Arthur Loevy
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                                         s/ Philip G. Piggott
                                         OF COUNSEL




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